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                                         CLERK’S MINUTE SHEET
                             IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                    Before the Honorable John Robbenhaar

                                                Initial Appearance

Case Number:         19-MJ-2214                          UNITED STATES vs. FELIX

Hearing Date:        7/23/2019                           Time In and Out:         10:15 am – 10:24 am

Clerk:               K. Dapson                           Courtroom:               Rio Grande
                                                                                  Alejandro Fernandez for this
Defendant:           Henry Felix                         Defendant’s Counsel:
                                                                                  hearing only
AUSA                 Steve Kotz                          Pretrial/Probation:      A.Urias

Interpreter:
Initial Appearance
☒       Defendant sworn

☒       Defendant received a copy of charging document

☒       Court advises defendant(s) of possible penalties and all constitutional rights

☒       Defendant wants Court appointed counsel

☒       Government moves to detain                        ☐      Government does not recommend detention

☒       Set for Preliminary/Detention Hearing            on July 23, 2019              @ 9:30 am
Preliminary/Show Cause/Identity
☐       Defendant

☐       Court finds probable cause                        ☐      Court does not find probable cause
Custody Status
☐       Defendant waives detention hearing

☒       Defendant detained pending hearing

☐       Conditions
Other
☐       Matter referred to        for final revocation hearing

☐
